8:07-cr-00259-LSC-FG3        Doc # 103     Filed: 12/03/07   Page 1 of 1 - Page ID # 280




                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )
                                            )
                     Plaintiff,             )
                                            )                    8:07CR259
      vs.                                   )
                                            )                     ORDER
RANDALL PARKER,                             )
                                            )
                     Defendant.             )


       This matter is before the court on the motion [98] of Steve Baxley for leave to
withdraw as counsel for the defendant. Substitute counsel, James R. Kozel, has entered
an entry of appearance [97].

      IT IS ORDERED:

       1. The Motion to Withdraw [98] is granted, and the appearance of Steve Baxley
is hereby deemed withdrawn.

      2.    The provisions and deadlines set in order [86] remain in effect.

      DATED December 3, 2007.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
